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                        EXHIBIT 8
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Jacobs, Evan K.




From:                                Singer, Linda <lsinger@motleyrice.com>
Sent:                                Thursday, October 11, 2018 3:18 PM
To:                                  Weinberger, Peter H.; Mark.Cheffo@dechert.com
Cc:                                  Bierstein, Andrea; Hanly, Paul; Farrell, Paul; Rice, Joe; Mougey, Peter; Shkolnik, Hunter;
                                     xOpioidMDLSteeringCommitteeMFRS@arnoldporter.com; Winner, Sonya; EXT
                                     pboehm@wc.com; edelinsky@zuckerman.com; Enu Mainigi; EXT smcclure; Ackerman,
                                     David; 2804 Discovery, MDL
Subject:                             RE: Discovery Order No. 5



[EXTERNAL EMAIL]


Mark and all:

As promised, we are getting back to you about the date to which the CT1 bellwethers can commit for
responding to the prescription-related ROGs from the Manufacturer and Pharmacy Defendants.

As you are aware, Plaintiffs have filed objections to the Court’s ruling. Notwithstanding what we believe are
well-founded objections, the bellwethers nonetheless are, and have been, working assiduously to gather,
analyze, and compile information, to the extent such information is available to us. If the Court denies our
objections, we will be able to provide our responses no later than 11/2. While we will move as quickly as we
can (and provide responses earlier if we can), pulling together this information is a massive undertaking and
must proceed in phases that cannot be shortcut.

We are happy to meet and confer on the response date, but also want to be clear that we cannot conscientiously
commit to an earlier date for this work to be done.

Linda

Linda Singer | Attorney at Law | Motley Rice LLC
401 9th St. NW, Suite 1001 | Washington, DC 20004
o. 202.386.9626 x5626 | f. 202.386.9622 | lsinger@motleyrice.com


From: Peter H. Weinberger <PWeinberger@spanglaw.com>
Sent: Monday, October 8, 2018 6:28 PM
To: Cheffo, Mark <Mark.Cheffo@dechert.com>; Singer, Linda <lsinger@motleyrice.com>
Cc: Bierstein, Andrea <abierstein@simmonsfirm.com>; Hanly, Paul <phanly@simmonsfirm.com>; Farrell, Paul
<Paul@Greeneketchum.com>; Rice, Joe <jrice@motleyrice.com>; Mougey, Peter <pmougey@levinlaw.com>; Shkolnik,
Hunter <Hunter@NapoliLaw.com>; xOpioidMDLSteeringCommitteeMFRS@arnoldporter.com; Winner, Sonya
<swinner@cov.com>; EXT pboehm@wc.com <pboehm@wc.com>; Delinsky, Eric <edelinsky@zuckerman.com>; Enu
Mainigi <emainigi@wc.com>; EXT smcclure <smcclure@reedsmith.com>; Ackerman, David
<dackerman@motleyrice.com>; 2804 Discovery, MDL <mdl2804discovery@motleyrice.com>
Subject: Discovery Order No. 5

Mark –




                                                                1
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I know you have been pushing us for our position regarding when we intend to answer the
interrogatories covered by Discovery Order No. 5. There is no need for you to set artificial deadlines on
us for a response.

Much has happened in this case since SM Cohen issued his Discovery Order No. 5 by email. Among the
developments is that in his formalized order, SM Cohen set out a truncated deadline for the filing of
objections by 10/10 and responses by 10/12. We will be prepared to discuss the timeframe for our
responses on Thursday if no objections are filed by either side or by Monday if either side files objections.
(I note that you reserved your rights in this regard at that end of your email.).

We are also mindful of SM Cohen’s directive that we need to negotiate deadlines consistent with his
ruling even if objections are filed.

We assume Plaintiffs’ interrogatory responses will be subject to the same restrictions that SM Cohen
applied to claims data. If that is not the case, we will need to raise this issue with SM Cohen for
clarification. Please let us know Defendants’ position.

Pete


From: Cheffo, Mark [mailto:Mark.Cheffo@dechert.com]
Sent: Sunday, October 07, 2018 4:55 PM
To: Singer, Linda
Cc: Bierstein, Andrea; Peter H. Weinberger; Hanly, Paul; Farrell, Paul; Rice, Joe; Mougey, Peter; Shkolnik, Hunter;
xOpioidMDLSteeringCommitteeMFRS@arnoldporter.com; Winner, Sonya; EXT pboehm@wc.com; Delinsky, Eric; Enu
Mainigi; EXT smcclure; Ackerman, David
Subject: Re: EXTERNAL-FW: AMENDMENT - Rulings on Interrogatories re: Rx


                Linda/Andrea,



                In light of the finalized SM Cohen “prescription” order, along with his
                unequivocal guidance on timing, and the limited discovery period, please let us
                know by Monday COB if plaintiffs will provide the responses for the plaintiff
                selected prescriptions and individuals on or before 28 days from the original
                ruling from SM Cohen. If you have another proposal please let us know.



                As you know, Plaintiffs’ continued failure to provide the database information
                requested, and that you represented in Court had already been produced, prevents
                us from identifying prescriptions based on surrounding information because we
                cannot match prescriptions to medical or prescribing information due to the way
                the data has been blinded. Donna Welch wrote a letter or two about this asking for
                a meet and confer and has not received a response (at least to my knowledge).



                Accordingly, please confirm that you will produce the plaintiff selected
                information within 28 days from the original ruling, and produce the needed
                database information or meet and confer on Monday or Tuesday with Defendants
                                                            2
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              on this issue. We will poll the defense group to determine if 21 days for
              Defendants’ selection of prescriptions and individuals is agreeable, from the time
              that we have the needed information. As with prior emails, and in light of the
              number of defendants, this is without prejudice to any additional issues or
              concerns, or reservations of rights, that any defendant may have.


Mark


Sent from my iPad

On Oct 5, 2018, at 1:17 PM, Singer, Linda <lsinger@motleyrice.com> wrote:



       Mark, the CT1 bellwethers are continuing to assess and discuss the timeframe for a response. As we
       have indicated, it’s a massive undertaking and we’re working diligently to come up with an answer, but
       it won’t be before early next week. We will get back to you then. Linda

       Linda Singer | Attorney at Law | Motley Rice LLC
       401 9th St. NW, Suite 1001 | Washington, DC 20004
       o. 202.386.9626 x5626 | f. 202.386.9622 | lsinger@motleyrice.com


       From: Cheffo, Mark <Mark.Cheffo@dechert.com>
       Sent: Wednesday, October 3, 2018 6:28 PM
       To: Singer, Linda <lsinger@motleyrice.com>; Bierstein, Andrea <abierstein@simmonsfirm.com>
       Cc: Weinberger, Peter H. <PWeinberger@spanglaw.com>; Hanly, Paul <phanly@simmonsfirm.com>;
       Farrell, Paul <Paul@Greeneketchum.com>; Rice, Joe <jrice@motleyrice.com>; Mougey, Peter
       <pmougey@levinlaw.com>; Shkolnik, Hunter <Hunter@NapoliLaw.com>;
       xOpioidMDLSteeringCommitteeMFRS@arnoldporter.com; Winner, Sonya <swinner@cov.com>; EXT
       pboehm@wc.com <pboehm@wc.com>; Delinsky, Eric <edelinsky@zuckerman.com>; Enu Mainigi
       <emainigi@wc.com>; EXT smcclure <smcclure@reedsmith.com>; Ackerman, David
       <dackerman@motleyrice.com>
       Subject: RE: EXTERNAL-FW: AMENDMENT - Rulings on Interrogatories re: Rx

       Ok thanks

       From: Singer, Linda [mailto:lsinger@motleyrice.com]
       Sent: Wednesday, October 3, 2018 6:12 PM
       To: Cheffo, Mark <Mark.Cheffo@dechert.com>; Bierstein, Andrea <abierstein@simmonsfirm.com>
       Cc: Weinberger, Peter H. <PWeinberger@spanglaw.com>; Hanly, Paul <phanly@simmonsfirm.com>;
       Farrell, Paul <Paul@Greeneketchum.com>; Rice, Joe <jrice@motleyrice.com>; Mougey, Peter
       <pmougey@levinlaw.com>; Shkolnik, Hunter <Hunter@NapoliLaw.com>;
       xOpioidMDLSteeringCommitteeMFRS@arnoldporter.com; Winner, Sonya <swinner@cov.com>; EXT
       pboehm@wc.com <pboehm@wc.com>; Delinsky, Eric <edelinsky@zuckerman.com>; Enu Mainigi
       <emainigi@wc.com>; EXT smcclure <smcclure@reedsmith.com>; Ackerman, David
       <dackerman@motleyrice.com>
       Subject: RE: EXTERNAL-FW: AMENDMENT - Rulings on Interrogatories re: Rx




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We are conferring on our end and will get back to you by the end of the week with our proposed next
steps.

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401 9th St. NW, Suite 1001 | Washington, DC 20004
o. 202.386.9626 x5626 | f. 202.386.9622 | lsinger@motleyrice.com


From: Cheffo, Mark <Mark.Cheffo@dechert.com>
Sent: Wednesday, October 3, 2018 6:05 PM
To: Singer, Linda <lsinger@motleyrice.com>; Bierstein, Andrea <abierstein@simmonsfirm.com>
Cc: Weinberger, Peter H. <PWeinberger@spanglaw.com>; Hanly, Paul <phanly@simmonsfirm.com>;
Farrell, Paul <Paul@Greeneketchum.com>; Rice, Joe <jrice@motleyrice.com>; Mougey, Peter
<pmougey@levinlaw.com>; Shkolnik, Hunter <Hunter@NapoliLaw.com>;
xOpioidMDLSteeringCommitteeMFRS@arnoldporter.com; Winner, Sonya <swinner@cov.com>; EXT
pboehm@wc.com <pboehm@wc.com>; Delinsky, Eric <edelinsky@zuckerman.com>; Enu Mainigi
<emainigi@wc.com>; EXT smcclure <smcclure@reedsmith.com>
Subject: EXTERNAL-FW: AMENDMENT - Rulings on Interrogatories re: Rx

Linda/Andrea,

To keep the process moving, please let me know if plaintiffs will agree to the dates that David
proposed. If so, and subject to whatever objections/positions the various defendants may have, I will poll
the defendants to determine if there is agreement among the defense group as to some or all of his timing
proposal. If you have some other timing proposal please let us know that as well.

Mark

From: David R. Cohen [mailto:David@SpecialMaster.Law]
Sent: Wednesday, October 3, 2018 9:39 AM
To: xALLDEFENDANTS-MDL2804-Service@arnoldporter.com; mdl2804discovery@motleyrice.com
Cc: Dan Polster <Dan_Polster@ohnd.uscourts.gov>; Mary Hughes <Mary_Hughes@ohnd.uscourts.gov>;
David Ruiz <David_Ruiz@ohnd.uscourts.gov>; Scott Loge <Andrew_Loge@ohnd.uscourts.gov>; Cathy
Yanni <cathy@cathyyanni.com>; Francis McGovern <McGovern@law.duke.edu>
Subject: AMENDMENT - Rulings on Interrogatories re: Rx

Dear Counsel:

Upon re-reading the Ruling I issued last night, I add the following direction regarding
deadlines.

In the second-to-last paragraph, I directed the parties to "negotiate the deadline"
associated with identification of specific prescriptions/persons relied upon by experts. I
meant to also direct the parties to negotiate the deadlines for responding to the re-written
interrogatories.

I do not have a feeling for the time it will take to identify specific prescriptions and persons,
and associated information. Given existing deadlines, however, my suggestions are that:
- plaintiffs should identify and provide information re: prescriptions/persons within 28 days;
- defendants should identify prescriptions/persons within 21 days, and plaintiffs should
provide responsive information within 14 days thereafter.

I will not at this time set these deadlines as absolute, however; rather, I ask the parties to
come to agreement on these deadlines, as you all understand better the amount of time it
will take to identify and produce the required information. If you can't come to agreement
soon, let me know and I will resolve it.
                                                    4
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       -David



       ============================
       This email sent from:
       David R. Cohen Co. LPA
       24400 Chagrin Blvd., Suite 300
       Cleveland, OH 44122
       216-831-0001 tel
       866-357-3535 fax
       www.SpecialMaster.law


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Peter H. Weinberger

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